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                          UNITED STATES DISTRICT COURT

                                DISTRICT OF MINNESOTA


 Jared Goyette, Craig Lassig, Michael                         Court File No. 20-CV-01302
 Shum, Katie Nelson, Tannen Maury,                                           (WMW/DTS)
 Stephen Maturen, and The
 Communications Workers of America,
 On behalf of themselves and other similarly
 situated individuals,
                                                         RESPONSE TO PLAINTIFFS’
                       Plaintiff,                     INTERROGATORIES TO STATE
                                                              DEFENDANTS (SET 1)
        vs.

 City of Minneapolis, et al.

                       Defendants.


TO:    PLAINTIFFS through their counsel Kevin C. Riach, Fredrikson & Byron, P.A., 200
       South Sixth Street, Suite 4000, Minneapolis, Minnesota, 55402-1425.

       Defendants Minnesota Department of Public Safety Commissioner John Harrington

and Minnesota State Patrol Colonel Matthew Langer, in their official and individual

capacities (“State Defendants”) provide the following answers to Plaintiffs’ Interrogatories

to State Defendants (Set I):

                                GENERAL OBJECTIONS

       All answers are made without in any way waiving or intending to waive but, on the

contrary, intending to preserve and preserving:

       1.     All questions as to competency, relevance, materiality, privilege, scope, and

admissibility of evidence for any purpose in any subsequent proceeding or the trial of this

or any other action.



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       2.     The right to object to the use of any of the answers or the subject matter

thereof in any subsequent proceeding or the trial of this or any other action on any grounds.

       3.     The right to supplement and/or amend these answers as State Defendants’

investigation, discovery and preparation for trial continues.

       4.     State Defendants object generally to each request herein to the extent that it

seeks discovery of:

       a.     Information or documents that are protected by the Minnesota Government
              Data Practices Act, except as a suitable protective order is entered;

       b.     Information or documents subject to the attorney/client privilege, the
              legislative privilege, the public officer privilege of Minn. Stat. Ch. 595, the
              inter-governmental memoranda or agency deliberative privileges developed
              at common law, or any other privilege;

       c.     Information or documents constituting the work product of State Defendants
              or its attorneys;

       d.     Information generated or documents prepared in anticipation of litigation or
              for trial by or for State Defendants or its representatives;

       e.     Information or documents not in the possession or control of State
              Defendants or not generated or obtained by State Defendants in the regular
              course of business;

       f.     Information or documents generated or obtained after the date on which
              Plaintiffs’ alleged claim arose;

       5.     State Defendants object to, and do not accept Plaintiffs’ instructions to the

extent that they seek to impose duties upon State Defendants that exceed the requirements

of the Federal Rules of Civil Procedure. State Defendants’ responses assume that words

used in the interrogatories have their ordinary and customary meanings without regard to

any special meanings assigned to them by the Plaintiffs.



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       6.         State Defendants object to Plaintiffs’ interrogatories to the extent that they

seek to impose upon State Defendants duties not imposed by the Federal Rules of Civil

Procedure.

       7.         State Defendants state that they do not and will not waive any of its general

or particular objections in the event it may furnish materials or information coming within

the scope of any such objections.

                         ANSWERS AND SPECIFIC OBJECTIONS

       In addition to making the foregoing general objections, all of which are preserved,

State Defendants respond particularly to Plaintiffs’ Interrogatories to State Defendants (Set

I), as follows:

       INTERROGATORY NO. 1:                Identify each and every one of Your employees,
including all Minnesota State Patrol officers, troopers, and employees, who purged, deleted
or destroyed electronic records, including but not limited to emails and text messages,
between May 25, 2020 and June 16, 2020.

        ANSWER: State Defendants object to this Interrogatory as unduly broad and
burdensome. State Defendants employ approximately 1,800 employees, the vast majority
of which have zero involvement in the facts as alleged in the Second Amended Complaint.
Additionally, this Interrogatory is over broad because it seeks information on all deleted
records, on any topic whatsoever, even those entirely unrelated to the facts as alleged in
the Second Amended Complaint. Subject to these objections, State Defendants state that
they expect all employees to comply with their retention policy as well as any applicable
litigation holds. State Defendants are not aware of any employee destroying records
subject to a required retention period or a litigation hold. State Defendants further state
that once a litigation hold is in place, persons subject to the hold are unable to permanently
delete their email.

       INTERROGATORY NO. 2:                 For each individual identified in your response to
Interrogatory No. 1, state the type of records destroyed and the number of records destroyed
for each type.

       ANSWER: State Defendants refer Plaintiffs to their objections and answer to


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Interrogatory #1.

       INTERROGATORY NO. 3:           Identify all methods by which Minnesota State
Patrol employees communicated with one another during the George Floyd protests.

       ANSWER: State Defendants object to this Interrogatory as unduly broad and
burdensome. State Defendants employ [insert number] employees, the vast majority of
which have zero involvement with the George Floyd protests or the facts as alleged in the
Second Amended Complaint. Additionally, this Interrogatory is over broad because it
seeks information on all communication types, pertaining to any topic whatsoever, even
those entirely unrelated to the facts as alleged in the Second Amended Complaint. State
Defendants construe this Interrogatory to seek communication methods utilized by
Minnesota State Patrol and Department of Public Safety employees directly involved in
responding to the unrest that occurred in Minnesota immediately following the murder of
George Floyd. Subject to these objections and constructions, State Defendants state that
they communicated in person, as well as via email, telephone, dispatch, CAD, radio, and
video-conferencing.

     INTERROGATORY NO. 4:               Describe the Department of Public Safety and
Minnesota State Patrol document retention practices.

      ANSWER: Subject to the above general objections, and pursuant to Federal Rule
of Civil Procedure 33(d), State Defendants refer Plaintiffs to documents bates labeled
STATEDEF0001112-STATEDEF0001123. State Defendants further state that when
documents are not subject to a litigation hold or the retention schedule, employees are
encouraged not to keep unneeded documents in order to reduce the cost and burden of
unnecessary data storage.

       INTERROGATORY NO. 5:                Describe in detail Your efforts to search for
information responsive to these Requests or any other discovery request served by
Plaintiffs in this action including the repository of the information, whether hardcopy,
electronic or otherwise, identifying every document custodian, listing search terms used, if
any, and any other material search parameters.

       ANSWER: State Defendants object to this Interrogatory to the extent it seeks
information protected by the attorney client privilege and the work product doctrine.
Defendants further object as this interrogatory seeks improper discovery on discovery.
Subject to these objections, State Defendants state that they have searched emails and text
messages as well as MSP Training and Development, Internal Affairs, the TraCS database,
and the Power DMS database.



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I DECLARE UNDER PENALTY OF PERJURY THAT EVERYTHING I HAVE
STATED IN THIS DOCUMENT IS TRUE AND CORRECT.

                                       DEFENDANT MINNESOTA STATE PATROL


                                       By:
                                       [Name]
                                       [Title]


Dated: ________________
County of Ramsey, State of Minnesota




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I DECLARE UNDER PENALTY OF PERJURY THAT EVERYTHING I HAVE
STATED IN THIS DOCUMENT IS TRUE AND CORRECT.

                                         DEFENDANT MINNESOTA DEPARTMENT
                                         OF PUBLIC SAFETY


                                         By:
                                         [Name]
                                         [Title]


Dated: ___________________
County of Ramsey, State of Minnesota




AS TO OBJECTIONS ONLY:


Dated: September 1, 2021                KEITH ELLISON
                                        Attorney General
                                        State of Minnesota

                                        s/Joe Weiner
                                        JOSEPH WEINER
                                        Assistant Attorney General
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                                       MINNESOTA DEPARTMENT OF PUBLIC
                                       SAFETY     COMMISSIONER     JOHN
                                       HARRINGTON AND MINNESOTA STATE
                                       PATROL COLONEL MATTHEW LANGER,
                                       IN THEIR OFFICIAL AND INDIVIDUAL
                                       CAPACITIES
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